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                                   THE UNITED STATES DISTRICT COURT
                                   FOR THE EASTERN DISTRICT OF TEXAS
                                            TYLER DIVISION

 IMPLICIT, LLC,                                                      §
                                                                     §
 v.                                                                  §         CASE NO. 6:17-CV-182-JRG
                                                                     §           LEAD CASE
 HUAWEI TECHNOLOGIES USA, INC.,                                      §
 et al.,                                                             §

                                         CLAIM CONSTRUCTION
                                     MEMORANDUM OPINION AND ORDER

           Before the Court is Plaintiff Implicit, LLC’s (“Plaintiff’s or “Implicit’s”) Opening Claim

Construction Brief (Dkt. No. 76). Also before the Court is Defendant Palo Alto Networks, Inc.’s

(“Defendant’s or “PAN’s”) Responsive Claim Construction Brief (Dkt. No. 78) and Plaintiffs’

reply (Dkt. No. 81).

           The Court held a claim construction hearing on February 23, 2018.



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I. BACKGROUND

       Plaintiff brings suit alleging infringement of patents that the parties have classified into

two groups: the “Demultiplexing Patents” (United States Patents No. 8,694,683 (“the ’683

Patent”), 9,270,790 (“the ’790 Patent”), and 9,591,104 (“the ’104 Patent”)); and the “Applet

Patent” (United States Patent No. 9,325,740 (“the ’740 Patent”)). (See Dkt. No. 76, Exs. 1–4;

see also Dkt. No. 76, at 2–4; Dkt. No. 78, at 1–2 & 19.)

       The ’683 Patent, for example, titled “Method and System for Data Demultiplexing,”

issued on April 8, 2014, and bears an earliest priority date of December 29, 1999. Plaintiff

submits that this group of patents relates to “processing messages, comprised of packets, flowing

through a network.” (Dkt. No. 76, at 2.) The ’790 Patent is a continuation of the ’683 Patent.

The ’104 Patent, in turn, is a continuation of the ’790 Patent. Plaintiff submits that all three of

these patents share a common specification. (Id.) The Abstract of the ’683 Patent states:

       A method and system for demultiplexing packets of a message is provided. The
       demultiplexing system receives packets of a message, identifies a sequence of
       message handlers for processing the message, identifies state information
       associated with the message for each message handler, and invokes the message
       handlers passing the message and the associated state information. The system
       identifies the message handlers based on the initial data type of the message and a
       target data type. The identified message handlers effect the conversion of the data
       to the target data type through various intermediate data types.

       The ’740 Patent, titled “Application Server for Delivering Applets to Client Computing

Devices in a Distributed Environment,” issued on April 26, 2016, and bears an earliest priority

date of March 18, 1998. Plaintiff submits that the ’740 Patent relates to “generation and

deployment of resources to a client machine at the direction of a server machine, based on a

request by the client machine.” (Dkt. No. 76, at 4.) The Abstract of the ’740 Patent states:

       An applet server accepts requests for applets from client computers. A request
       specifies the format in which an applet is to be delivered to the requesting client
       computer. The applet server has a cache used to store applets for distribution to


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          client computers. If the specified form of the requested applet is available in the
          cache, the applet server transmits the applet to the requesting client. If the applet
          is not available in the cache, the server will attempt to build the applet from local
          resources (program code modules and compilers) and transformer programs
          (verifiers and optimizers). If the applet server is able to build the requested
          applet, it will transmit the applet to the requesting client computer. If the applet
          server is unable to build the requested applet, it will pass the request to another
          applet server on the network for fulfillment of the request.

          The Court previously construed terms in the ’683 Patent, the ’790 Patent, and the ’740

Patent in Implicit, LLC v. Trend Micro, Inc., No. 6:16-CV-80, Dkt. No. 115, 2017 WL 1190373

(E.D. Tex. Mar. 29, 2017) (Gilstrap, J.) (“Trend Micro”). The ’683 Patent has also been the

subject of claim construction in the Northern District of California in Implicit Networks, Inc. v.

F5 Networks, Inc., No. 3:14-CV-2856, Dkt. No. 57, 2015 WL 2194627 (N.D. Cal. May 6, 2015)

(Illston, J.) (“F5 Networks II”). Further, the Northern District of California has also construed

terms in a related patent, United States Patent No. 6,629,163 (“the ’163 Patent”)1 in Implicit

Networks, Inc. v. F5 Networks, Inc., No. 3:10-CV-3365, Dkt. No. 93, 2012 WL 669861 (N.D.

Cal. Feb. 29, 2012) (Illston, J.) (“F5 Networks I”).

II. LEGAL PRINCIPLES

          It is understood that “[a] claim in a patent provides the metes and bounds of the right

which the patent confers on the patentee to exclude others from making, using or selling the

protected invention.” Burke, Inc. v. Bruno Indep. Living Aids, Inc., 183 F.3d 1334, 1340 (Fed.

Cir. 1999). Claim construction is clearly an issue of law for the court to decide. Markman v.

Westview Instruments, Inc., 52 F.3d 967, 970–71 (Fed. Cir. 1995) (en banc), aff’d, 517 U.S. 370

(1996).




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    The Demultiplexing Patents all resulted from continuations of the ’163 Patent.

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       “In some cases, however, the district court will need to look beyond the patent’s intrinsic

evidence and to consult extrinsic evidence in order to understand, for example, the background

science or the meaning of a term in the relevant art during the relevant time period.” Teva

Pharms. USA, Inc. v. Sandoz, Inc., 135 S. Ct. 831, 841 (2015) (citation omitted). “In cases

where those subsidiary facts are in dispute, courts will need to make subsidiary factual findings

about that extrinsic evidence. These are the ‘evidentiary underpinnings’ of claim construction

that we discussed in Markman, and this subsidiary factfinding must be reviewed for clear error

on appeal.” Id. (citing 517 U.S. 370).

       To ascertain the meaning of claims, courts look to three primary sources: the claims, the

specification, and the prosecution history. Markman, 52 F.3d at 979. The specification must

contain a written description of the invention that enables one of ordinary skill in the art to make

and use the invention. Id. A patent’s claims must be read in view of the specification, of which

they are a part. Id. For claim construction purposes, the description may act as a sort of

dictionary, which explains the invention and may define terms used in the claims. Id. “One

purpose for examining the specification is to determine if the patentee has limited the scope of

the claims.” Watts v. XL Sys., Inc., 232 F.3d 877, 882 (Fed. Cir. 2000).

       Nonetheless, it is the function of the claims, not the specification, to set forth the limits of

the patentee’s invention. Otherwise, there would be no need for claims. SRI Int’l v. Matsushita

Elec. Corp., 775 F.2d 1107, 1121 (Fed. Cir. 1985) (en banc). The patentee is free to be his own

lexicographer, but any special definition given to a word must be clearly set forth in the

specification. Intellicall, Inc. v. Phonometrics, Inc., 952 F.2d 1384, 1388 (Fed. Cir. 1992).

Although the specification may indicate that certain embodiments are preferred, particular

embodiments appearing in the specification will not be read into the claims when the claim



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language is broader than the embodiments. Electro Med. Sys., S.A. v. Cooper Life Sciences, Inc.,

34 F.3d 1048, 1054 (Fed. Cir. 1994).

        This Court’s claim construction analysis is substantially guided by the Federal Circuit’s

decision in Phillips v. AWH Corporation, 415 F.3d 1303 (Fed. Cir. 2005) (en banc). In Phillips,

the court set forth several guideposts that courts should follow when construing claims. In

particular, the court reiterated that “the claims of a patent define the invention to which the

patentee is entitled the right to exclude.” Id. at 1312 (quoting Innova/Pure Water, Inc. v. Safari

Water Filtration Sys., Inc., 381 F.3d 1111, 1115 (Fed. Cir. 2004)). To that end, the words used

in a claim are generally given their ordinary and customary meaning. Id. The ordinary and

customary meaning of a claim term “is the meaning that the term would have to a person of

ordinary skill in the art in question at the time of the invention, i.e., as of the effective filing date

of the patent application.” Id. at 1313. This principle of patent law flows naturally from the

recognition that inventors are usually persons who are skilled in the field of the invention and

that patents are addressed to, and intended to be read by, others skilled in the particular art. Id.

        Despite the importance of claim terms, Phillips made clear that “the person of ordinary

skill in the art is deemed to read the claim term not only in the context of the particular claim in

which the disputed term appears, but in the context of the entire patent, including the

specification.” Id. Although the claims themselves may provide guidance as to the meaning of

particular terms, those terms are part of “a fully integrated written instrument.” Id. at 1315

(quoting Markman, 52 F.3d at 978). Thus, the Phillips court emphasized the specification as

being the primary basis for construing the claims. Id. at 1314–17. As the Supreme Court stated

long ago, “in case of doubt or ambiguity it is proper in all cases to refer back to the descriptive

portions of the specification to aid in solving the doubt or in ascertaining the true intent and



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meaning of the language employed in the claims.” Bates v. Coe, 98 U.S. 31, 38 (1878). In

addressing the role of the specification, the Phillips court quoted with approval its earlier

observations from Renishaw PLC v. Marposs Societa’ per Azioni, 158 F.3d 1243, 1250 (Fed. Cir.

1998):

         Ultimately, the interpretation to be given a term can only be determined and
         confirmed with a full understanding of what the inventors actually invented and
         intended to envelop with the claim. The construction that stays true to the claim
         language and most naturally aligns with the patent’s description of the invention
         will be, in the end, the correct construction.

Phillips, 415 F.3d at 1316. Consequently, Phillips emphasized the important role the

specification plays in the claim construction process.

         The prosecution history also continues to play an important role in claim interpretation.

Like the specification, the prosecution history helps to demonstrate how the inventor and the

United States Patent and Trademark Office (“PTO”) understood the patent. Id. at 1317. Because

the file history, however, “represents an ongoing negotiation between the PTO and the

applicant,” it may lack the clarity of the specification and thus be less useful in claim

construction proceedings. Id. Nevertheless, the prosecution history is intrinsic evidence that is

relevant to the determination of how the inventor understood the invention and whether the

inventor limited the invention during prosecution by narrowing the scope of the claims. Id.; see

Microsoft Corp. v. Multi-Tech Sys., Inc., 357 F.3d 1340, 1350 (Fed. Cir. 2004) (noting that “a

patentee’s statements during prosecution, whether relied on by the examiner or not, are relevant

to claim interpretation”).

         Phillips rejected any claim construction approach that sacrificed the intrinsic record in

favor of extrinsic evidence, such as dictionary definitions or expert testimony. The en banc court

condemned the suggestion made by Texas Digital Systems, Inc. v. Telegenix, Inc., 308 F.3d 1193



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(Fed. Cir. 2002), that a court should discern the ordinary meaning of the claim terms (through

dictionaries or otherwise) before resorting to the specification for certain limited purposes.

Phillips, 415 F.3d at 1319–24. According to Phillips, reliance on dictionary definitions at the

expense of the specification had the effect of “focus[ing] the inquiry on the abstract meaning of

words rather than on the meaning of claim terms within the context of the patent.” Id. at 1321.

Phillips emphasized that the patent system is based on the proposition that the claims cover only

the invented subject matter. Id.

       Phillips does not preclude all uses of dictionaries in claim construction proceedings.

Instead, the court assigned dictionaries a role subordinate to the intrinsic record. In doing so, the

court emphasized that claim construction issues are not resolved by any magic formula. The

court did not impose any particular sequence of steps for a court to follow when it considers

disputed claim language. Id. at 1323–25. Rather, Phillips held that a court must attach the

appropriate weight to the intrinsic sources offered in support of a proposed claim construction,

bearing in mind the general rule that the claims measure the scope of the patent grant.

       In general, prior claim construction proceedings involving the same patents-in-suit are

“entitled to reasoned deference under the broad principals of stare decisis and the goals

articulated by the Supreme Court in Markman, even though stare decisis may not be applicable

per se.” Maurice Mitchell Innovations, LP v. Intel Corp., No. 2:04-CV-450, 2006 WL 1751779,

at *4 (E.D. Tex. June 21, 2006) (Davis, J.); see TQP Development, LLC v. Intuit Inc., No. 2:12-

CV-180, 2014 WL 2810016, at *6 (E.D. Tex. June 20, 2014) (Bryson, J.) (“[P]revious claim

constructions in cases involving the same patent are entitled to substantial weight, and the Court

has determined that it will not depart from those constructions absent a strong reason for doing

so.”); see also Teva, 135 S. Ct. at 839–40 (“prior cases will sometimes be binding because of



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issue preclusion and sometimes will serve as persuasive authority”) (citation omitted); Finisar

Corp. v. DirecTV Grp., Inc., 523 F.3d 1323, 1329 (Fed. Cir. 2008) (noting “the importance of

uniformity in the treatment of a given patent”) (quoting Markman v. Westview Instruments, Inc.,

517 U.S. 370, 390 (1996)).

III. AGREED TERMS

         In their December 22, 2017 Joint Claim Construction Chart and Prehearing Statement

(Dkt. No. 73, at 1) and their February 22, 2018 Second Amended Joint Claim Construction Chart

(Dkt. No. 94, Ex. A), the parties set forth agreements as to the following terms in the patents-in-

suit:

                      Term                                           Agreement

 “sequence of [two or more] routines”              “an ordered arrangement of [two or more]
                                                   software routines that was not identified (i.e.,
 (’683 Patent, Claims 1, 4, 24;                    configured) prior to receiving a first packet of
 ’790 Patent, Claims 1, 8, 10, 12, 15;             the message”
 ’104 Patent, Claims 1, 3, 10, 13, 16)

 “application”                                     “program designed to assist in the
                                                   performance of a specific task”
 (’740 Patent, Claim 11)

 “source code”                                     “code in the form of a higher level language
                                                   such as C, C++, Java, Visual Basic, ActiveX,
 (’740 Patent, Claims 1, 12, 13, 19, 20)           Fortran, and Modula”

 “transformation operation”                        “operation that modifies code”

 (’740 Patent, Claims 1, 16, 19, 20)

 “fix”                                             “for”

 (’740 Patent, Claim 20)




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IV. DISPUTED TERMS

A. “message”

 Plaintiff’s Proposed Construction                  Defendant’s Proposed Construction

 “a collection of data that is related in some      “a collection of application data that is related
 way, such as a stream of video or audio data       in some way, such as a stream of video or
 or an email message”                               audio data or an email message”

(Dkt. No. 73, Ex. A, at 1; Dkt. No. 76, at 5; Dkt. No. 78, at 2 (emphasis Defendant’s); Dkt.

No. 94, Ex. A, at 5.) The parties submit that this term appears in Claims 1, 24, and 25 of the

’683 Patent, Claims 1, 8, 13, and 15 of the ’790 Patent, and Claims 1, 10, and 16 of the ’104

Patent. (Dkt. No. 73, Ex. A, at 1; Dkt. No. 76, at 5; Dkt. No. 78, at 2; Dkt. No. 94, Ex. A, at 5–

9.)

       In Trend Micro, the parties in that case agreed that “message” in the ’683 Patent and the

’790 Patent means “a collection of data that is related in some way, such as a stream of video or

audio data or an email message.” Trend Micro at 12.

       (1) The Parties’ Positions

       Plaintiff argues that Defendant’s proposal of requiring “application” data should be

rejected because the patentee set forth a clear lexicography that controls the meaning of the term

“message.” (Dkt. No. 76, at 6.) Alternatively, Plaintiff urges that the plain meaning of

“message” is not limited to “application” data.” (Id., at 6–7.)

       Defendant responds that its proposal of “application” data is necessary because, in the

Trend Micro case, “Implicit appeared to stretch the construction so that it could argue that TCP

handshake packets used to establish a connection between two devices are part of a ‘message.’”

(Dkt. No. 78, at 2–3.) Defendant urges that “a ‘message’ is the data that is of interest to the users

of the claimed invention . . . .” (Id., at 3.) Defendant argues that “[t]he specification (to which



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 Implicit concedes we must look) repeatedly and exclusively discloses the invention as being

 directed to user data.” (Id., at 4.)

         Plaintiff replies that the patentee’s lexicography is unambiguous and “[t]his ends the

 inquiry.” (Dkt. No. 81, at 1.) As to the stated definition itself, Plaintiff argues that “there is

 simply no ambiguity as to whether the words explicitly used by the patentee are limited to

 application data—they are not.” (Id., at 2.) Further, Plaintiff submits that “as a matter of plain

 English, the use of an exemplary list, introduced by ‘such as,’ does not limit the scope of the

 broader category preceding it.” (Id.)

         (2) Analysis

         Claim 1 of the ’683 Patent, for example, recites (emphasis added):

         1. A first apparatus for receiving data from a second apparatus, the first apparatus
         comprising:
                 a processing unit; and
                 a memory storing instructions executable by the processing unit to:
                        create, based on an identification of information in a
                            received packet of a message, a path that includes
                            one or more data structures that indicate a sequence
                            of routines for processing packets in the message;
                        store the created path; and
                        process subsequent packets in the message using the
                            sequence of routines indicated in the stored path,
                            wherein the sequence includes a routine that is used
                            to execute a Transmission Control Protocol (TCP)
                            to convert one or more packets having a TCP
                            format into a different format.

         Defendant has not shown that anything in this claim language requires limiting

 “message” to “application data.” Further, Plaintiff submits that the specification sets forth a

 lexicography that defines the term “message.”

         “The patentee’s lexicography must, of course, appear with reasonable clarity,

 deliberateness, and precision before it can affect the claim.” Renishaw, 158 F.3d at 1249



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 (citation and internal quotation marks omitted); see Intellicall, 952 F.2d at 1388; Thorner v. Sony

 Computer Entm’t Am. LLC, 669 F.3d 1362, 1365 (Fed. Cir. 2012) (“To act as its own

 lexicographer, a patentee must clearly set forth a definition of the disputed claim term other than

 its plain and ordinary meaning.”) (citation and internal quotation marks omitted).

        Here, the specification discloses:

        A method and system for converting a message that may contain multiple packets
        from an [sic] source format into a target format. When a packet of a message is
        received, the conversion system in one embodiment searches for and identifies a
        sequence of conversion routines (or more generally message handlers) for
        processing the packets of the message by comparing the input and output formats
        of the conversion routines. (A message is a collection of data that is related in
        some way, such as [a]2 stream of video or audio data or an email message.) The
        identified sequence of conversion routines is used to convert the message from the
        source format to the target format using various intermediate formats.

 ’683 Patent at 2:42–53 (emphasis added). This statement, which appears near the beginning of

 the Detailed Description section of the specification, sets forth a definition of “message” with

 “reasonable clarity, deliberateness, and precision” so as to be a lexicography. Renishaw, 158

 F.3d at 1249.

        Defendant argues, however, that its proposal of “application data” is consistent with the

 specification as a whole. At the February 23, 2018 hearing, Defendant urged that the remainder

 of the specification is still relevant even in the presence of a lexicography. See Renishaw, 158

 F.3d at 1250 (“Ultimately, the interpretation to be given a term can only be determined and

 confirmed with a full understanding of what the inventors actually invented and intended to

 envelop with the claim.”).




 2
  The parties appear to have agreed upon this insertion of the word “a” before “stream.” (See
 Dkt. No. 76, at 6 & n.2; see also Dkt. No. 78, at 3.)

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        As a threshold matter, Plaintiff does not appear to contest that the above-reproduced

 examples of “[a] stream of video or audio data or an email message” refer to application data.

 But these examples are just that, examples, as is evident from their being introduced by the

 phrase “such as.”

        The remaining issue, then, is whether Defendant has presented sufficient indications,

 particularly in the intrinsic evidence, to warrant interpreting the above-reproduced lexicography

 so as to limit the term “message” to “application data.” Several of the claims refer to

 “application layer,” “application layer protocols,” “application-level protocols,” and

 “application-level routines,” but none of these recitals of “application” appears to be relevant to

 the meaning of “message.” See ’683 Patent at Cls. 12, 15, 26 & 27; see also ’790 Patent at Cls.

 3, 4, 10, 18 & 19; ’104 Patent at Cls. 3 & 13.

        Defendant has also cited disclosure of an example in which various format conversions

 may be necessary to communicate data stored in a bitmap format:

        [W]hen data is generated on one computer system and is transmitted to another
        computer system to be displayed, the data may be converted in many different
        intermediate formats before it is eventually displayed. For example, the
        generating computer system may initially store the data in a bitmap format. To
        send the data to another computer system, the computer system may first
        compress the bitmap data and then encrypt the compressed data. The computer
        system may then convert that compressed data into a TCP format and then into an
        IP format. The IP formatted data may be converted into a transmission format,
        such as an ethernet format. The data in the transmission format is then sent to a
        receiving computer system. The receiving computer system would need to
        perform each of these conversions in reverse order to convert the data in the
        bitmap format. In addition, the receiving computer system may need to convert
        the bitmap data into a format that is appropriate for rendering on output device.

 ’683 Patent at 1:27–44. This disclosure, however, does not refer to “application” data and does

 not expressly address the meaning of the term “message.”




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        Defendant has also cited disclosure regarding “multiple messages with different source

 and target formats”:

        The conversion system stores the identified sequence so that the sequence can be
        quickly found (without searching) when the next packet in the message is
        received. When subsequent packets of the message are received, the conversion
        system identifies the sequence and queues the packets for pressing [sic] by the
        sequence. Because the conversion system receives multiple messages with
        different source and target formats and identifies a sequence of conversion
        routines for each message, the conversion systems [sic] effectively
        “demultiplexes” the messages. That is, the conversion system demultiplexes the
        messages by receiving the message, identifying the sequence of conversion
        routines, and controlling the processing of each message by the identified
        sequence.

 Id. at 2:55–3:1. Defendant has not shown how this disclosure regarding various different source

 and target formats, and processing “the next packet in the message” by the “identified sequence,”

 necessarily shows that a “message” is “application” data.

        As to extrinsic evidence, Defendant has submitted a technical dictionary definition of

 “message” as meaning “a logical grouping of information at the Application Layer (Layer 7) of

 the OSI Reference Model.” (Dkt. No. 78, Ex. B, Novell’s Dictionary of Networking 360 (1997).)

 On one hand, “[b]ecause dictionaries, and especially technical dictionaries, endeavor to collect

 the accepted meanings of terms used in various fields of science and technology, those resources

 have been properly recognized as among the many tools that can assist the court in determining

 the meaning of particular terminology to those of skill in the art of the invention.” Phillips, 415

 F.3d at 1318.

        On the other hand, this extrinsic evidence is necessarily of somewhat limited weight. See

 id. at 1322 (“[T]he authors of dictionaries or treatises may simplify ideas to communicate them

 most effectively to the public and may thus choose a meaning that is not pertinent to the

 understanding of particular claim language.”). Also, whereas this extrinsic definition of



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 “message” appears to be specific to “Layer 7” of the “OSI Reference Model,” the intrinsic

 evidence contains no indication that this particular definition is appropriate as to the claimed

 invention. See id. at 1321 (“heavy reliance on the dictionary divorced from the intrinsic

 evidence risks transforming the meaning of the claim term to the artisan into the meaning of the

 term in the abstract, out of its particular context, which is the specification”).

         On balance, Defendant has failed to demonstrate that the patentee’s above-noted

 lexicography should be modified or that any evidence otherwise warrants limiting the data to

 “application” data. Indeed, the word “application” does not appear in the written description in

 any relevant context.

         Defendant has urged that the construction should be limited to “application” data

 because, in the Trend Micro litigation, Plaintiff attempted to read the term “message” so as to

 include “handshake” packets that contain no application data. (See Dkt. No. 78, at 2–3 & 5.)

 Defendant reiterated this argument at the February 23, 2018 hearing, arguing that because the

 specification discloses that all packets of a message are processed using the same particular

 sequence, and because handshake packets are necessarily processed differently than application

 data packets, handshake packets cannot be part of a “message.” Yet, Defendant’s argument

 appears to bear upon other claim language rather than on the meaning of the term “message.”

 For example, above-reproduced Claim 1 of the ’683 Patent recites: “process subsequent packets

 in the message using the sequence of routines indicated in the stored path.”3

         Thus, any dispute in this regard would appear to present questions of fact for the finder of

 fact regarding infringement rather than necessarily any question of law for claim construction.



 3
   Claims 24 and 25 of the ’683 Patent and Claims 1, 10, and 16 of the ’104 Patent contain similar
 recitals.

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 See Acumed LLC v. Stryker Corp., 483 F.3d 800, 806 (Fed. Cir. 2007) (“The resolution of some

 line-drawing problems . . . is properly left to the trier of fact.”) (citing PPG Indus. v. Guardian

 Indus. Corp., 156 F.3d 1351, 1355 (Fed. Cir. 1998) (“after the court has defined the claim with

 whatever specificity and precision is warranted by the language of the claim and the evidence

 bearing on the proper construction, the task of determining whether the construed claim reads on

 the accused product is for the finder of fact”)); see also Eon Corp. IP Holdings v. Silver Spring

 Networks, 815 F.3d 1314, 1318–19 (Fed. Cir. 2016) (citing PPG).4

           The Court therefore hereby construes “message” to mean “a collection of data that is

 related in some way, such as a stream of video or audio data or an email message.”

 B. “process/processing . . . packets”

     Plaintiff’s Proposed Construction               Defendant’s Proposed Construction

     “apply/applying one or more routines to         “apply/applying one or more conversion
     packets”                                        routines to a packet”

     Alternatively:
         “apply/applying one or more routines to a
     packet, where at least one such routine is a
     conversion routine”



 4
     F5 Networks I reached the same conclusions as to the related ’163 Patent:
           In the specification, plaintiff defined message as: “a collection of data that is
           related in some way, such as a stream of video or audio data or an email
           message.” ‘163 Patent Col. 2:45–47. The question here is whether, in light of the
           examples given in that definition (e.g., stream of video or email message), the
           definition of message should be restricted to data in a particular format, as
           defendants contend. The Court finds it should not reach that question on claim
           constriction. Message, itself, has been clearly defined in the specification.
           Whether any particular form of data transmission falls within the express
           definition of message is a question for the trier of fact. Therefore, message[s] is
           construed as “a collection of data that is related in some way, such as a stream of
           video or audio data or an email message.”
 F5 Networks I at 12–13 (emphasis omitted; square brackets in original).

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 (Dkt. No. 73, Ex. A, at 4; Dkt. No. 76, at 7; Dkt. No. 78, at 5 (emphasis Defendant’s); Dkt.

 No. 81, at 3.) The parties submit that these terms appear in Claims 1 and 24 of the ’683 Patent,

 Claims 1, 8, and 15 of the ’790 Patent, and Claims 1, 3, 10, and 16 of the ’104 Patent. (Dkt.

 No. 73, Ex. A, at 4; Dkt. No. 76, at 7; Dkt. No. 78, at 2; Dkt. No. 94, Ex. A, at 10–14.)

        In Trend Micro, the Court construed “processing packets” to mean “applying one or more

 routines to packets” and construed “process . . . packets” to mean “apply one or more routines to

 packets.” Trend Micro at 22.

        After the close of briefing in the present case, the parties reached agreement that these

 terms should be construed to mean “apply/applying one or more routines to a packet, where at

 least one such routine is a conversion routine.” (Dkt. No. 94, Ex. A, at 10.)

        In accordance with this agreement between the parties, the Court hereby construes

 “process/processing . . . packets” to mean “apply/applying one or more routines to a packet,

 where at least one such routine is a conversion routine.”

 C. “state information”

  Plaintiff’s Proposed Construction                 Defendant’s Proposed Construction

  Plain and ordinary meaning                        “information specific to a software routine for
                                                    a specific message that is not information
                                                    related to an overall path”

 (Dkt. No. 73, Ex. A, at 5; Dkt. No. 76, at 9; Dkt. No. 78, at 8; Dkt. No. 94, Ex. A, at 14.) The

 parties submit that this term appears in Claims 1, 10, and 16 of the ’104 Patent. (Dkt. No. 73,

 Ex. A, at 5; Dkt. No. 76, at 9; Dkt. No. 78, at 8; Dkt. No. 94, Ex. A, at 14–15.)

        (1) The Parties’ Positions

        Plaintiff argues that this term is “clear on its face” and that Defendant’s proposal to

 import various limitations should be rejected. (Dkt. No. 76, at 9.) Plaintiff argues, for example,



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 that “the Demultiplexing Patents make clear that ‘the conversion routines’ (plural) ‘may need to

 retain state information.’” (Id. (citing ’683 Patent at 3:1–2).) Plaintiff concludes that “[b]ecause

 ‘state information’ means no more than information about the state of the computer, the Court

 need not construe this term further.” (Dkt. No. 76, at 10.)

        Defendant responds that its proposal is consistent with findings in the Northern District

 of California as to related United States Patents No. 6,629,163 (“the ’163 Patent”) and 7,711,857

 (“the ’857 Patent”). (Dkt. No. 78, at 8.) Defendant also argues that “the specification explains

 that ‘state information’ is specific to a software routine for a specific message.” (Id. (citing ’683

 Patent at 3:1–9).) Further, Defendant cites a reexamination of the ’163 Patent as well as the

 prosecution history of the ’857 Patent. (Dkt. No. 78, at 8–9.) Finally, Defendant argues that the

 claims and the specification “explicitly tie ‘state information’ to specific software routines

 associated with a message, and not to a computer generally.” (Id., at 11.)

        Plaintiff replies that the cited prosecution history of the ’857 Patent does not apply to the

 claims of the ’104 Patent. (Dkt. No. 81, at 4 (citing Regents of Univ. of Minn. v. AGA Med.

 Corp., 717 F.3d 929, 943 (Fed. Cir. 2013) (“In general, a prosecution disclaimer will only apply

 to a subsequent patent if that patent contains the same claim limitation as its predecessor.”);

 citing Advanced Cardiovascular Sys., Inc. v. Medtronic, Inc., 265 F.3d 1294, 1305 (Fed. Cir.

 2001)).) As to the reexamination of the ’163 Patent, Plaintiff argues that ‘how state information

 is stored does not address whether other components may be permitted to access this data.”

 (Dkt. No. 81, at 5–6.) Similarly, Plaintiff argues that “nowhere does [the specification] say that

 this information must be used by only one message.” (Id., at 6.)




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        (2) Analysis

        F5 Networks I construed this term to mean “information specific to a software routine for

 a specific message that is not information related to an overall path.” F5 Networks I at 14. Also,

 F5 Networks I noted that “[t]he parties agree[d] that state information is information specific to a

 software routine (component) for a specific message.” F5 Networks I at 13 (emphasis omitted).5

        Claim 1 of the ’104 Patent, for example, recites (emphasis added):

        1. An apparatus, comprising:
               a processing unit; and
               a memory storing instructions executable by the processing unit to:
                      receive one or more packets of a message;
                      determine a key value using information in the one or
                          more packets;
                      identify, using the key value, a sequence of two or more
                          routines, wherein the sequence includes a routine
                          that is used to execute a Transmission Control
                          Protocol (TCP) to process packets having a TCP
                          format;
                      create a path that includes one or more data structures
                          that indicate the identified sequence of two or more
                          routines, wherein the path is usable to store state
                          information associated with the message; and
                      process subsequent packets in the message using the
                          sequence of two or more routines indicated in the
                          path.

        Defendant’s proposal of referring to “a specific message” is thus consistent with the

 recital in this claim, as well as in Claims 10 and 16 of the ’104 Patent, of “state information

 associated with the message.”6 Plaintiff has argued that Defendant’s proposed construction

 would render this claim language superfluous (Dkt. No. 81, at 6), but to whatever extent this


 5
  In F5 Networks I, Plaintiff’s predecessor-in-interest proposed that “state information” be
 construed as: “Information specific to a component for a specific message.” F5 Networks I at 13.
 6
  Claim 11 of the ’683 Patent, cited by Plaintiff, likewise recites (emphasis added): “The medium
 of claim 10, wherein one or more of the sessions specify state information for one or more of the
 conversion routines, and wherein the state information is specific to the message.”

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 might be perceived as redundancy in these claims, redundancy in a construction is not prohibited.

 See 01 Communique Lab., Inc. v. LogMeIn, Inc., 687 F.3d 1292, 1296 (Fed. Cir. 2012) (“we

 have not discovered[] any authority for the proposition that construction of a particular claim

 term may not incorporate claim language circumscribing the meaning of the term”).7

        Also, the specification discloses:

        [S]ince the conversion routines may need to retain state information between the
        receipt of one packet of a message and the next packet of that message, the
        conversion system maintains state information as an instance or session of the
        conversion routine.

 ’683 Patent at 3:1–5 (emphasis added). The specification thus refers to “state information” in the

 context of a particular message.

        As to Defendant’s proposal that state information “is not information related to an overall

 path,” Defendant has emphasized the patentee’s statements during a reexamination of the related

 ’163 Patent. Defendant has likewise cited reliance thereupon by the Northern District of

 California in F5 Networks I when construing the term “state information” in the ’163 Patent as

 well as in the related ’857 Patent. See F5 Networks I at 13–14. The patentee argued as follows

 regarding the “Mosberger” reference:8

        Moreover, the Office Action appears to misinterpret the operation of threads in
        Mosberger. The Office Action states at page 6 that the inherency refers to “stored
        information related to the path (emphasis added).” In contrast, claim 1 recites
        retrieving state information “relating to performing the processing of the
        component with the previous packet of the message” as well as “storing state
        information relating to the processing of the component with the packet for use
        when processing the next packet of the message.” Thus, claim 1 is directed to a
        method in which state information for a specific component is stored on a

 7
   To the extent relevant, this principle appears to be particularly applicable because, as noted, all
 three of the claims at issue recite “state information associated with the message.”
 8
  F5 Networks I and F5 Networks II identified the “Mosberger” reference as: “David Mosberger,
 ‘Scout: A Path-Based Operating System,’ Doctoral Dissertation Submitted to the University of
 Arizona.” F5 Networks I at 3; F5 Networks II at 3; see F5 Networks II at 5–9.

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        component-by-component basis and is not information related to an overall path,
        as the Office Action describes Mosberger. Accordingly, Mosberger cannot
        anticipate claim 1.

 (Dkt. No. 78, Ex. E, Amendment and Response to Office Action Mailed July 7, 2009, at 24

 (emphasis added).)9 Plaintiff repeatedly emphasized at the February 23, 2018 hearing that the

 ’163 Patent reexamination involved different claims than are at issue here in the ’104 Patent.

 Nonetheless, because the term “state information” is similarly used in the context of a particular

 message in Claims 1, 10, and 16 of the ’104 Patent, these statements by the patentee during

 reexamination of the ’163 Patent are applicable.10 Also, the claims of the ’163 Patent did not




 9
   Defendant similarly submits evidence that the patentee presented a comparable argument in an
 examiner interview during reexamination. (Id., Ex. F, ’163 Reexam Examiner Interview
 Presentation, at 2 (“The system stores state information related to each component in the path;
 the state information is stored to enable the processing of additional packets of the same
 message.”).)
 10
   The parties have cited Regents of the University of Minnesota, 717 F.3d at 943 (alterations in
 original):
        We have explained that “[w]hen the purported disclaimers [made during
        prosecution] are directed to specific claim terms that have been omitted or
        materially altered in subsequent applications (rather than to the invention itself),
        those disclaimers do not apply.” Saunders Grp., Inc. v. Comfortrac, Inc., 492
        F.3d 1326, 1333 (Fed. Cir. 2007). In general, a prosecution disclaimer will only
        apply to a subsequent patent if that patent contains the same claim limitation as its
        predecessor. See, e.g., Ventana Med. Sys. v. Biogenex Labs., Inc., 473 F.3d 1173,
        1182 (Fed. Cir. 2006) (“[P]rosecution disclaimer generally does not apply when
        the claim term in the descendent patent uses different language.”); Invitrogen
        Corp. v. Clontech Labs., Inc., 429 F.3d 1052, 1078 (Fed. Cir. 2005) (“[T]he
        prosecution of one claim term in a parent application will generally not limit
        different claim language in a continuation application.”); ResQNet.com, Inc. v.
        Lansa, Inc., 346 F.3d 1374, 1383 (Fed. Cir. 2003) (“Prosecution history is
        irrelevant to the meaning of [a] limitation [if] the two patents do not share the
        same claim language.”); Biogen, Inc. v. Berlex Labs., Inc., 318 F.3d 1132, 1141
        (Fed. Cir. 2003) (“When the applicant is seeking different claims in a divisional
        application, estoppel generally does not arise from the prosecution of the
        parent.”).


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 recite any “not information related to an overall path” limitation upon which the patentee could

 have purportedly been relying in the above-reproduced passage. (See Dkt. No. 78, Ex. G, ’163

 Patent.)

        As to Defendant’s proposal that “state information” is “specific to a software routine,”

 Defendant has emphasized the patentee’s statements during prosecution of the related ’857

 Patent. The ’857 Patent resulted from continuations of the ’163 Patent and, as noted above, the

 Demultiplexing Patents likewise resulted from continuations of the ’163 Patent. The ’857 Patent

 thus shares a common ancestry with the Demultiplexing Patents. See Microsoft, 357 F.3d at

 1349 (“the prosecution history of one patent is relevant to an understanding of the scope of a

 common term in a second patent stemming from the same parent application”). During

 prosecution of the related ’857 Patent, the patentee set forth a “Brief Description of the Present

 Invention” as follows:

        In contrast [to the “Taylor” reference, United States Patent No. 6,785,730], the
        present disclosure is directed to a process for demultiplexing multiple messages
        and processing the multiple messages by various components within the system.
        The specification states . . . that:

                since the conversion routines may need to retain state information
                between the receipt of one packet of a message and the next packet
                of that message, the conversion system maintains state information
                as an instance or session of the conversion routine.[] The
                conversion system routes all packets for a message through the
                same session of each conversion routine so that the same state or
                instance information can be used by all packets of the message.

        Thus, the term “state” as used in the present application is not the operational
        state of a state machine, but the identification of an instance or session of a
        conversion routine. When processing multiple messages, each instantiation of a
        conversion routine has its own state information . . . .



        Thus, our cases establish that the two patents must have the same or closely
        related claim limitation language. If the language of the later limitation is
        significantly different, the disclaimer will not apply.

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 (Dkt. No. 78, Ex. D, Amendment, at 10 (emphasis added).)11 This statement is consistent with

 Defendant’s proposal that “state information” is information regarding a particular routine.

        Plaintiff has argued that “nowhere does [the specification] require that the state

 information may not be retained between messages, or between software routines” (Dkt. No. 76,

 at 10) or “prohibit the accessing of that information by other conversion routines” (Dkt. No. 81,

 at 5), but no such limitation is apparent in Defendant’s proposed construction.

        Finally, Plaintiff has argued that the prosecution history as to the ’857 Patent does not

 apply to the ’104 Patent because the ’104 Patent contains different claim language. Plaintiff

 emphasizes that the above-noted “Brief Description of the Present Invention” appears under a

 heading of “Rejection of Claims 1–25.” (Dkt. No. 81, at 4.) Yet, the above-reproduced

 prosecution history refers to “the term ‘state’ as used in the present application.” (Dkt. No. 78,

 Ex. D, Amendment, at 10 (emphasis added).) Also significant, this statement appears

 immediately following a statement about “the present disclosure” and a block quote of what

 “[t]he specification states.” Id. As noted above, both the ’857 Patent and the ’104 Patent

 resulted from continuations of the ’163 Patent. Because the ’857 Patent and the ’104 Patent thus

 share a common specification, the language quoted in the above-reproduced prosecution history

 also appears in the ’104 Patent. ’104 Patent at 3:7–14. This prosecution history is therefore

 applicable here.

        Thus, Defendant’s proposal is consistent with the prosecution history and has not been

 shown to be inconsistent with the specification. See Microsoft, 357 F.3d at 1349; see also

 Omega Eng’g Inc. v. Raytek Corp., 334 F.3d 1314, 1334 (Fed. Cir. 2003) (“unless otherwise



 11
    The Amendment as submitted as Exhibit D does not bear a filing date, but the Amendment
 states that it was “[i]n response to the Office Action dated June 24, 2009.” (Id., at 2.)

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 compelled . . . the same claim term in the same patent or related patents carries the same

 construed meaning”). The construction by the Northern District of California in F5 Networks I

 also carries some persuasive weight. See TQP Development, 2014 WL 2810016, at *6; see also

 Teva, 135 S. Ct. at 839–40; Finisar, 523 F.3d at 1329 (citing Markman, 517 U.S. at 390).

        The Court therefore hereby construes “state information” to mean “information

 specific to a software routine for a specific message that is not information related to an

 overall path.”

 D. “key [value]”

  Plaintiff’s Proposed Construction                   Defendant’s Proposed Construction

  Plain and ordinary meaning                          “information that identifies the session of a
                                                      protocol”
  Alternatively:
      “information that can be used to identify       And, the “key [value]” must be determined in
  the session of a protocol”                          recited sequence of the claim

 (Dkt. No. 73, Ex. A, at 6; Dkt. No. 76, at 10; Dkt. No. 78, at 12; Dkt. No. 81, at 7–8.) The

 parties submit that these terms appear in Claims 1, 2, 15, and 16 of the ’790 Patent and Claims 1,

 10, and 16 of the ’104 Patent. (Dkt. No. 73, Ex. A, at 6; Dkt. No. 76, at 10; Dkt. No. 78, at 12;

 Dkt. No. 94, Ex. A, at 15–18.)

        After the close of briefing, the parties reached agreement that these terms should be

 construed as follows: “information that can be used to identify the session of a protocol”; and

 “[a]s used in the ’104 patent, the determine/determining operation/step is performed before the

 identify/identifying operation/step.” (Dkt. No. 94, Ex. A, at 10.)

        In accordance with this agreement between the parties, the Court hereby construes “key

 [value]” to mean: “information that can be used to identify the session of a protocol. As




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 used in the ’104 patent, the determine/determining operation/step is performed before the

 identify/identifying operation/step.”

 E. “removing [an / the resulting] outermost header”

  Plaintiff’s Proposed Construction                 Defendant’s Proposed Construction

  “advancing the reference past the header          Plain and ordinary meaning
  information”

  Alternatively:
      “either (1) stripping off or deleting a
  header; or (2) advancing a pointer past the
  header information”

 (Dkt. No. 73, Ex. A, at 7; Dkt. No. 76, at 12; Dkt. No. 78, at 17; Dkt. No. 81, at 10; see Dkt.

 No. 94, Ex. A, at 18.) The parties submit that these terms appear in Claim 24 of the ’683 Patent.

 (Dkt. No. 73, Ex. A, at 7; Dkt. No. 76, at 12; Dkt. No. 78, at 17; Dkt. No. 94, Ex. A, at 18–19.)

        (1) The Parties’ Positions

        Plaintiff argues that construction of this term is necessary because “‘removing,’ as used

 in this term, does not mean the same thing to a lay person as it does to a person of ordinary skill

 in the art, as can be clearly seen in the Demultiplexing Patents.” (Dkt. No. 76, at 12.)

        Defendant responds that “[t]he inventor did not act as his own lexicographer to redefine

 this basic word,” and “the extrinsic evidence shows that one of ordinary skill in the art would

 understand ‘removing’ to be its plain and ordinary meaning – e.g., stripping off or deleting a

 header.” (Dkt. No. 78, at 17 (citation omitted).) Defendant also argues that “[h]ad the Applicant

 intended to claim advancing references past headers, he could have done so,” “[f]or instance, the

 Applicant addressed ‘references’ in other claims.” (Dkt. No. 78, at 18.)

        Plaintiff replies that “PAN ignores realities of computer programming in order to arrive

 at a result that is inconsistent with the way in which headers and data are passed between layers



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 in any conventional networking stack.” (Dkt. No. 81, at 8.) Plaintiff also proposes the following

 alternative construction: “either (1) stripping off or deleting a header; or (2) advancing a pointer

 past the header information.” (Id., at 10.)

        (2) Analysis

        Claim 24 of the ’683 Patent recites (emphasis added):

        24. A non-transitory, computer-readable medium comprising program
        instructions executable by a computer system to:
                identify information from different headers associated with various layers
        of a received packet of a message;
                create, using the identified information, one or more data structures that
        reference a sequence of routines;
                store the one or more data structures; and
                process subsequent packets of the message using the sequence of routines
        referenced by the one or more data structures, including by removing an
        outermost header of a given packet using a first routine corresponding to a
        protocol in a first layer and by removing the resulting outermost header using a
        second routine corresponding to a different protocol in a different layer.

        Plaintiff has cited the following disclosure that appears at the end of the written

 description:

        Although the conversion system has been described in terms of various
        embodiments, the invention is not limited to these embodiments. Modification
        within the spirit of the invention will be apparent to those skilled in the art. For
        example, a conversion routine may be used for routing a message and may
        perform no conversion of the message. Also, a reference to a single copy of the
        message can be passed to each conversion routine or demuxkey routine. These
        routines can advance the reference past the header information for the protocol so
        that the reference is positioned at the next header. After the demux process, the
        reference can be reset to point to the first header for processing by the conversion
        routines in sequence.

 ’683 Patent at 14:4–16 (emphasis added). Although this disclosure refers to advancing and

 resetting a reference, this disclosure does not use the term “removing” and does not amount to a

 lexicography as to that term. See, e.g., Renishaw, 158 F.3d at 1249 (“The patentee’s

 lexicography must, of course, appear with reasonable clarity, deliberateness, and precision before



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 it can affect the claim.”) (citation and internal quotation marks omitted); see also Intellicall, 952

 F.2d at 1388. Indeed, the specification does not appear to include any relevant usage of

 “removing” outside of the claims.

        Of note, however, Claims 16 and 20 of the ’683 Patent recite (emphasis added):

        16. A first apparatus configured to receive data from a second apparatus, the first
        apparatus comprising:
               a processing unit; and
               memory storing instructions that are executable by the processing unit to:
                       obtain and analyze information from a received packet
                           of a message;
                       identify an address based on the obtained information,
                           wherein the address references a list of routines;
                       create one or more data structures that indicate state
                           information corresponding to routines in the list;
                       store the one or more data structures; and
                       process subsequent packets of the message using the
                           state information, including state information that
                           corresponds to a particular routine that is used to
                           execute a protocol to convert packets from an input
                           format to an output format, wherein the particular
                           routine is not executable to convert packets having
                           the output format.

        ***

        20. The first apparatus of claim 16, wherein the particular routine is executable to
        convert packets by removing an outermost header of the packets.

        Because Claim 20 recites “removing” with reference to “convert[ing]” from an input

 format to an output format (as recited in Claim 16), the “convert[ing]” in Claim 20 can be fairly

 read as implying that the “removing” involves modifying the packets rather than merely moving

 a reference. These claims thus provide context that further weighs against Plaintiff’s suggestion

 that the above-reproduced disclosure in the specification should be applied to the term

 “removing.” See Phillips, 415 F.3d at 1314 (“Other claims of the patent in question, both




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 asserted and unasserted, can also be valuable sources of enlightenment as to the meaning of a

 claim term.”).

        Also, as Defendant has noted, Plaintiff’s proposal appears to read out the “outermost”

 limitation. Indeed, the limitation of “removing the resulting outermost header” in the claim here

 at issue appears to assume that the previously outermost header is no longer present (such that

 the removal of the original “outermost” header results in there being a new “outermost” header).

 This understanding is also consistent with extrinsic evidence submitted by Defendant. (See Dkt.

 No. 91, Ex. H, Tanenbaum, Computer Networks 20 (3d. ed. 1996) (“At the receiving machine the

 message moves upward, from layer to layer, with headers being stripped off as it progresses.

 None of the headers for layers below n are passed up to layer n.”).) Finally, as Defendant has

 argued, Plaintiff’s proposal of “the reference” would tend to confuse rather than clarify because

 the claim contains no antecedent for a “reference.”

        Based on all of the foregoing, Plaintiff’s proposal lacks sufficient support for altering the

 otherwise readily apparent meaning of “removing,” particularly in light of the context provided

 by above-reproduced Claims 16 and 20 of the ’683 Patent. Further, Plaintiff has not submitted

 any evidence to support its contention that Defendant’s proposed interpretation is inconsistent

 with “the technical realities of network processing.” (Dkt. No. 81, at 8; see id. at 8–9.)12

 Instead, the above-noted extrinsic evidence submitted by Defendant is unrebutted. To whatever

 extent the Court can consider the demonstrative arguments presented by Plaintiff’s counsel at the

 February 23, 2018 hearing as to how a person of ordinary skill in the art would understand the



 12
   The only evidence, intrinsic or extrinsic, cited by Plaintiff as to this disputed term is the above-
 reproduced portion of the specification (’683 Patent at 14:4–16). (See Dkt. No. 76 at 12–13; see
 also Dkt. No. 81 at 8–10.) Indeed, the only exhibits that Plaintiff has submitted with its briefing
 are the patents-in-suit. (See Dkt. Nos. 76 & 81.)

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 word “removing” in this context,13 those demonstrative arguments are unpersuasive. Finally,

 Plaintiff’s counsel’s citation of the above-reproduced portion of the specification during those

 demonstrative arguments is unavailing. As noted above, that disclosure does not refer to

 “removing,”14 and Plaintiff has not shown any inconsistency between that disclosure and the

 extrinsic evidence submitted by Defendant. See ’683 Patent at 14:4–16; see, e.g., PPC

 Broadband, Inc. v. Corning Optical Commc’ns RF, LLC, 815 F.3d 747, 755 (Fed. Cir. 2016) (“It

 is not necessary that each claim read on every embodiment.”) (citation and internal quotation

 marks omitted).

        The Court therefore hereby expressly rejects Plaintiff’s proposed interpretation, in

 particular as to encompassing moving a “reference” or “pointer.” No further construction is

 necessary. See U.S. Surgical Corp. v. Ethicon, Inc., 103 F.3d 1554, 1568 (Fed. Cir. 1997)

 (“Claim construction is a matter of resolution of disputed meanings and technical scope, to

 clarify and when necessary to explain what the patentee covered by the claims, for use in the

 determination of infringement. It is not an obligatory exercise in redundancy.”); see also O2

 Micro Int’l Ltd. v. Beyond Innovation Tech. Co., 521 F.3d 1351, 1362 (Fed. Cir. 2008)

 (“[D]istrict courts are not (and should not be) required to construe every limitation present in a

 patent’s asserted claims.”); Finjan, Inc. v. Secure Computing Corp., 626 F.3d 1197, 1207 (Fed.

 Cir. 2010) (“Unlike O2 Micro, where the court failed to resolve the parties’ quarrel, the district




 13
   See Elbit Sys. of Am., LLC v. Thales Visionix, Inc., --- F.3d ----, No. 2017-1355, 2018 WL
 717187, at *4 (Fed. Cir. Feb. 6, 2018) (“‘[a]ttorney argument is not evidence’ and cannot rebut
 other admitted evidence”) (quoting Icon Health & Fitness, Inc. v. Strava, Inc., 849 F.3d 1034,
 1043 (Fed. Cir. 2017)).
 14
   The absence of any apparent lexicography to support Plaintiff’s position as to “removing” is
 particularly notable when contrasted with the presence of a lexicography as to the term
 “message,” discussed above.

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 court rejected Defendants’ construction.”); ActiveVideo Networks, Inc. v. Verizon Commcn’s,

 Inc., 694 F.3d 1312, 1326 (Fed. Cir. 2012); Summit 6, LLC v. Samsung Elecs. Co., Ltd., 802 F.3d

 1283, 1291 (Fed. Cir. 2015).

        The Court accordingly hereby construes “removing [an / the resulting] outermost

 header” to have its plain meaning.

 F. “resource”

  Plaintiff’s Proposed Construction                  Defendant’s Proposed Construction

  Plain and ordinary meaning                         “data object containing code that: (1) is an
                                                     application, (2) is an applet, or (3) can be used
                                                     to build an application or applet”

 (Dkt. No. 73, Ex. A, at 9; Dkt. No. 76, at 13; Dkt. No. 78, at 19.) The parties submit that this

 term appears in Claims 1, 9–11, 13, 19, and 20 of the ’740 Patent. (See Dkt. No. 73, Ex. A, at 9;

 Dkt. No. 76, at 13; Dkt. No. 78, at 19.)

        In Trend Micro, the Court construed “resource” in the ’740 Patent to mean “data object

 containing code that: (1) is an application, (2) is an applet, or (3) can be used to build an

 application or applet,” as Defendant has proposed here. Trend Micro at 37.

        After the close of briefing in the present case, the parties reached agreement that this term

 should be construed to mean “a data object containing code, where that code: (1) is an

 application, (2) is an applet, or (3) can be used to build an application or applet.”

        In accordance with this agreement between the parties, the Court hereby construes

 “resource” to mean “a data object containing code, where that code: (1) is an application,

 (2) is an applet, or (3) can be used to build an application or applet.”




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 V. CONCLUSION

        The Court adopts the constructions set forth in this opinion for the disputed terms of the

 patents-in-suit, and in reaching conclusions the Court has considered extrinsic evidence. The

 Court’s constructions thus include subsidiary findings of fact based upon the extrinsic evidence

 presented by the parties in these claim construction proceedings. See Teva, 135 S. Ct. at 841.

        The parties are ordered that they may not refer, directly or indirectly, to each other’s

 claim construction positions in the presence of the jury. Likewise, the parties are ordered to

 refrain from mentioning any portion of this opinion, other than the actual definitions adopted by

 the Court, in the presence of the jury. Any reference to claim construction proceedings is limited

 to informing the jury of the definitions adopted by the Court.

        Within thirty (30) days of the issuance of this Memorandum Opinion and Order, the

 parties are hereby ORDERED, in good faith, to mediate this case with the mediator agreed upon

 by the parties. As a part of such mediation, each party shall appear by counsel and by at least
   .
 one corporate officer possessing sufficient authority and control to unilaterally make binding

 decisions for the corporation adequate to address any good faith offer or counteroffer of

 settlement that might arise during such mediation. Failure to do so shall be deemed by the Court

 as a failure to mediate in good faith and may subject that party to such sanctions as the Court

 deems appropriate. No participant shall leave the mediation without the approval of the

 mediator.
      SIGNED this 19th day of December, 2011.
     So ORDERED and SIGNED this 6th day of March, 2018.




                                                          ____________________________________
                                                          RODNEY GILSTRAP
                                                          UNITED STATES DISTRICT JUDGE
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